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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 STEPHEN C. BULLOCK, in his official            Case No.: ______________
 capacity as Governor of Montana;
 MONTANA DEPARTMENT OF
 REVENUE,
                              Plaintiffs,
                   vs.
                                                      COMPLAINT
 INTERNAL REVENUE SERVICE;
 DAVID KAUTTER, in his official
 capacity as Acting Commissioner of the
 Internal Revenue Service; UNITED
 STATES DEPARTMENT OF THE
 TREASURY,

                              Defendants.

      Because Defendants have unlawfully interfered with Montana’s ability to

gather data that the state needs in order to administer its tax laws, Plaintiffs

respectfully seek this Court’s intervention under the Administrative Procedure Act

and allege as follows:

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                                INTRODUCTION

      1.     The Internal Revenue Service (“IRS”) has long required organizations

that are tax-exempt under § 501(c) of the Internal Revenue Code to collect and

disclose the names and addresses of their substantial contributors. By statute,

§ 501(c)(3) charitable organizations must furnish this information to the IRS each

year. 26 U.S.C. § 6033(b)(5). Section 6033 also authorizes the Secretary of the

Treasury to require this information from other tax-exempt organizations, and the

Secretary has promulgated regulations requiring all § 501(c) organizations to

disclose this information to the IRS. 26 C.F.R. § 1.6033-2. Organizations disclose

this information to the IRS on Schedule B of the Form 990.

      2.     Though substantial contributor information is first disclosed federally,

many states examine the Form 990 and the Schedule B when making their own tax-

exemption determinations. Federal law authorizes the IRS to share this information

with state officials for the purpose of administering state laws. 26 U.S.C. § 6103(d).

      3.     On July 16, 2018, Defendants the Internal Revenue Service, the United

States Department of the Treasury, and David Kautter, Acting Commissioner of the

Internal Revenue Service, announced that the IRS would no longer require

disclosure of substantial contributor information on the Schedule B for 501(c)

organizations other than § 501(c)(3) groups. The change was made through a sub-

regulatory document called a “Revenue Procedure”--specifically, Revenue


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Procedure 2018-38.1 Revenue Procedure 2018-38 amends a prior legislative rule--

26 C.F.R. § 1.6033.2--and the Administrative Procedure Act (“APA”) requires

agencies to notify the public and provide an opportunity for comment before

amending a legislative rule. See 5 U.S.C. § 553(b). The IRS promulgated its new

Revenue Procedure in violation of the APA without notice and without giving the

public any opportunity to comment. Accordingly, because Defendants promulgated

Revenue Procedure 2018-38 “without observance of procedure required by law,”

under the APA, this Court must hold the revenue procedure unlawful and set it aside.

5 U.S.C. § 706(2)(D).

        4.     Montana law provides that Plaintiff Montana Department of Revenue

(“MTDOR”) cannot grant tax-exempt status to organizations whose net income

inures to the benefit of any private shareholder or individual (“private inurement”).

Mont. Code. Ann. § 15-31-102(1). Because Montana law does not independently

require organizations seeking tax-exempt status to file the names and addresses of

their significant contributors with the state, MTDOR relies on the availability of this

information from the IRS. See 26 U.S.C. § 6103(d). MTDOR also relies on the

exhaustiveness of the IRS’s private inurement determinations. Changes that weaken

the integrity of federal private inurement determinations will frustrate Montana’s tax

regime, impose substantial pressure on Montana to change its laws, and require


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    Available at https://www.irs.gov/pub/irs-drop/rp-18-38.pdf.

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Montana to expend substantial resources to develop new procedures for state

determinations.

                                     PARTIES

      5.     The Montana Department of Revenue is an executive agency of the

State of Montana. MTDOR resides within and throughout the State of Montana,

including through its office in Great Falls. In administering Montana’s tax laws,

MTDOR determines whether organizations doing business in Montana qualify for

tax-exempt status under state law.

      6.     Steve Bullock is the Governor of Montana. He is the state’s chief

executive and exercises supervisory authority over MTDOR pursuant to the

Montana Constitution and state statute. He sues in his official capacity.

      7.     Defendant Internal Revenue Service is an executive agency of the

United States within the meaning of the APA, 5 U.S.C. §§ 551, 701(b)(1).

      8.     Defendant United States Department of the Treasury is an executive

agency of the United States within the meaning of the APA, 5 U.S.C. §§ 551,

701(b)(1).

      9.     Defendant David Kautter is the Acting Commissioner of the Internal

Revenue Service. He is sued in his official capacity. He serves as the head of the

IRS in Washington, D.C.




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                          JURISDICTION AND VENUE

      10.    Because this action arises under the APA, this Court has federal

question jurisdiction under 28 U.S.C. § 1331.

      11.    Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because

Plaintiff MTDOR, an executive agency of the State of Montana, is a resident of this

judicial district. Divisional venue is proper in the Great Falls Division under

L.R. 3.2(b) and Mont. Code. Ann. §§ 25-2-118, -125 because Defendants IRS and

United States Department of the Treasury are found throughout the state, and a

substantial part of the events or omissions giving rise to the Plaintiffs’ claims

occurred in this Division.

                                  BACKGROUND

I.    PRIOR STATUTORY AND REGULATORY FRAMEWORK

      12.    Section 6033(b) of the Internal Revenue Code requires 501(c)(3)

organizations to file annual reports disclosing “the total of the contributions and gifts

received by it during the year, and the names and addresses of all substantial

contributors.” 26 U.S.C. § 6033(b)(5). Substantial contributors are defined in

26 U.S.C. § 507(d)(2) as those having contributed more than $5,000, in aggregate.

      13.    “Although the statute does not address contributor reporting by tax-

exempt organizations other than those described in § 501(c)(3), the implementing

regulations under § 6033(a) generally require all types of tax-exempt organizations


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to report the names and addresses of all persons who contribute $5,000 or more in a

year under [26 C.F.R.] § 1.6033-2(a)(2)(ii)(f).” Revenue Procedure 2018-38, at *3

(describing regulatory background).

      14.    The disclosure requirements for tax-exempt organizations other than

for organizations described in § 501(c)(3) are pursuant to a binding legislative rule,

26 C.F.R. § 1.6033-2. See Treasury Decision 7122, 36 Fed. Reg. 11,025 (June 8,

1971).

      15.    “Under existing rules, the names and addresses of contributors for all

types of organizations are reported on Schedule B, ‘Schedule of Contributors,’ filed

with Forms 990, 990-EZ, and 990-PF, or, with respect to organizations described in

§ 501(c)(21), in Part IV of Form 990-BL.” Revenue Procedure 2018-38, at *4

(describing relevant forms).

      16.    By regulation, the Commissioner of the IRS may relieve classes of

organizations from filing disclosures if the Commissioner determines that the

information to be disclosed is not necessary for the efficient administration of federal

tax laws. 26 C.F.R. § 1.6033-2(g)(6). This regulation does not supersede the

statutory requirement that amendments to legislative rules must be promulgated

through the APA’s notice-and-comment process.

      17.    Federal law authorizes the IRS to share the returns and return

information of 501(c) organizations--including the Schedule B--with certain state


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officials for the purpose of, and to the extent necessary in, the administration of state

laws. 26 U.S.C. § 6103(d).

      18.    The disclosures made by groups other than 501(c)(3) organizations and

private foundations remain confidential from the public, but are available both to the

IRS for its purposes and to state tax authorities, including Montana, pursuant to

26 U.S.C. § 6103(d).

II.   THE ROLE OF DONOR IDENTITY IN PRIVATE INUREMENT
      DETERMINATIONS

      19.    Under federal law and the law of most states, social welfare

organizations may not receive tax exemptions if any part of their earnings or income

“inures to the benefit of any private shareholder or individual.” See 26 U.S.C.

§ 501(c)(4)(B). This is often referred to as the prohibition on private inurement.

      20.    To determine whether an organization violates the prohibition on

private inurement--and thus may not receive tax-exempt status--tax authorities may

look to that organization’s significant contributors. A similar determination dictates

whether a group can maintain its tax-exempt status after it has been granted an

exemption.

      21.    For example, if a plumber organized her business under the guise of a

tax-exempt social welfare organization, she might receive tax-exempt income from

her clients by means of “contributions.” But if a tax regulator reviewed the names

and addresses of the plumber’s significant contributors, the regulator might

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determine that these persons are the plumber’s clients--not contributors--and that

tax-exempt status is inappropriate.

      22.    Accordingly, the names and addresses of significant contributors are

important to the ongoing administration of tax-exemption determinations, both at

the state level and federally.

      23.    Given the strength and uniformity of federal disclosure requirements,

many states treat the IRS’s tax-exemption and private inurement determinations as

highly reliable and persuasive--if not authoritative--in making their own state law

determinations.

      24.    The names and addresses of significant contributors to federal tax-

exempt organizations also play a significant role in ferreting out other nefarious

activity conducted by entities masquerading as charitable, social welfare, or other

such groups. For example, many § 501(c)(4) social welfare organizations use large

portions of their funds to engage in political activity. Federal law prohibits foreign

nationals from participating in federal, state, or local elections, such as by

contributing to a campaign or by purchasing television or digital advertising to

support a candidate in the immediate run-up to an election. See 52 U.S.C. § 30121.

If the IRS knows that an organization is engaged in political activity, and receives a

disclosure that the organization’s only significant contributors are foreign nationals,

then the IRS is well-positioned to identify and stop a serious violation of federal law.


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Absent the names and addresses of the significant contributors, however, the IRS is

less capable of making such a determination. Other nonprofit organizations that are

exempt under § 501(c), such as §§ 501(c)(5) and (c)(6) organizations, may also use

funds to engage in political activity, and so knowledge of the names and addresses

of their substantial contributors is relevant to the enforcement of election law as well.

        25.    Sections 501(c)(4), (c)(5), and (c)(6) organizations have become

particularly active in elections in recent years. By one estimate, campaign spending

by “dark money” groups--primarily, organizations that are tax-exempt under

§§ 501(c)(4), (c)(5), and (c)(6)--increased more than fifty-fold between 2004 and

2016.         See   Center   for   Responsive     Politics,   Dark     Money     Basics,

https://www.opensecrets.org/dark-money/basics (last visited July 23, 2018)

[https://perma.cc/GQR2-6GDT].

        26.    Beyond tax regulators, a range of other interests in civil society--

candidates, election regulators, the press--rely on the accuracy and integrity of tax-

exemption determinations for these organizations.

III.    PROCEDURES FOR TAX-EXEMPT DETERMINATIONS BY THE
        STATE OF MONTANA

        27.    Plaintiff Governor Bullock exercises executive and supervisory

authority over MTDOR and other executive agencies of the State of Montana. He

is ultimately responsible for directing MTDOR’s administration of Montana’s tax

laws, including operations and policies related to tax-exempt organizations.

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      28.    Under Montana law, certain organizations qualify for exemptions from

state taxation.

      29.    When an organization does business in the State of Montana, it is

required to register with the Montana Secretary of State. Organizations may mark

on their registration whether they intend to seek tax-exempt status in Montana. After

registration at the Secretary of State, the information is forwarded to Plaintiff the

Montana Department of Revenue.

      30.    Under Montana law, organizations cannot obtain tax-exempt status if

any part of their net income inures to the benefit of any private shareholder or

individual. Mont. Code. Ann. § 15-31-102(1). Any organization that does is likely

to be denied tax-exempt status under Montana law.

      31.    Organizations indicating that they wish to seek a tax exemption from

the State of Montana must demonstrate that no part of their net income inures to the

benefit of any private shareholder or individual. Organizations begin by completing

Montana tax form EXPT,2 indicating entity type, address, contact person, and other

information. Organizations are also required to submit articles of incorporation, by-

laws, latest financial statement showing assets, liabilities, receipts and

disbursements, and an “affidavit showing the character of the organization, the



2
 Available at https://app.mt.gov/myrevenue/Endpoint/DownloadPdf?yearId=178
[hereinafter “Form EXPT”].

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purposes for which it was organized, its actual activities, the sources and disposition

of its income, and whether any of its income may inure to the benefit of any private

shareholder or individual.” Form EXPT.

      32.    The sources of an organization’s income--particularly the identities of

its significant contributors--are important in determining whether the organization

complies with the prohibition on private inurement. Because of the rigor of the

existing federal tax-exemption process, federal tax-exemption determinations are

part of Montana’s analysis for tax exemptions.         Applicant organizations must

indicate whether they have received a federal exemption, and Plaintiff MTDOR

relies on the IRS’s tax-exemption determinations.            In this process, some

organizations submit complete federal Form 990s and attendant schedules, including

the Schedule B containing significant contributor information, when seeking

Montana tax-exempt status.

      33.    Once an organization has received tax-exempt status from Montana,

Plaintiff MTDOR may later review this determination and seek additional

information. For these post-determination investigations, MTDOR may request the

names and addresses of significant contributors from the IRS.            Federal law

authorizes the IRS to share this information with state officials for the purpose of

administering state laws. 26 U.S.C. § 6103(d).




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      34.    By eliminating the requirement that significant contributor information

be reported to the IRS for groups other than 501(c)(3) charities, Revenue Procedure

2018-38 effects several distinct kinds of injury to Montana.

      35.    First, Revenue Procedure 2018-38 harms Montana’s ability to conduct

private inurement determinations for tax-exempt organizations doing business in the

state, both by reducing the information available to the state from the IRS and by

weakening the overall rigor and reliability of the federal process.

      36.    Montana’s private inurement determinations rely on the strength of the

federal tax-exemption process, including the vigorous disclosure requirements for

significant contributors provided by 26 U.S.C. § 6033(b)(5) and 26 C.F.R. § 1.6033-

2. These disclosure requirements bolster the overall quality of federal tax-exemption

determinations. If significant contributor information is not reported to the IRS for

groups other than § 501(c)(3) charities, it will harm Montana’s ability to make

private inurement determinations by degrading the quality and reliability of the

federal private inurement determinations.

      37.    Moreover, if the IRS no longer requires certain tax-exempt

organizations to disclose the names and addresses of significant contributors, then

Montana can no longer request that information from the agency when conducting

its own determinations. Because Montana will be forced to obtain this information




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from potentially thousands of organizations directly, rather than from the IRS, this

frustrates the efficient administration of Montana’s tax laws.

      38.    Montana has over 10,000 tax-exempt organizations, the greatest

number per capita in the United States and nearly twice the national average.3

Whenever Montana grants tax-exempt status to an organization, it may be forgoing

income that would otherwise contribute to the state’s treasury. An increased rate of

mistakes, or decreased reliability, in the tax-exemption process exposes the state to

additional financial loss. It also increases the potential for abuse of Montana’s tax-

exempt status granted by the state.

      39.    Second, by eliminating the requirement that names and addresses of

significant contributors be disclosed to the IRS for groups other than § 501(c)(3)

charities, Revenue Procedure 2018-38 will shoulder Montana with additional

financial and administrative burdens connected to private inurement determinations.

      40.    Damage to the strength of these disclosure requirements at the federal

level requires state tax agencies like Plaintiff MTDOR to fundamentally change their

state tax-exemption review processes, including adopting new administrative rules,

developing new forms and processes, requiring new and state-specific information,




3
  See Scott Greenberg, Which States Have the Most Tax-Exempt Organizations?,
Tax Foundation, Dec. 29, 2015, https://taxfoundation.org/which-states-have-most-
tax-exempt-organizations.

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and devoting more staff and other government resources away from other areas of

tax administration and toward tax-exempt organizations practice.

         41.   Montana will be forced to assume the burden of developing unique

processes to solicit the significant contributor information contained in the current

Form 990, Schedule B, including legislative and rule changes. Montana’s current

affidavit requirements do not contain the level of specificity required by the Form

990, Schedule B.

         42.   Moreover, where previously the State of Montana could access

significant contributor information in one, centralized location--the IRS--now that

the IRS will no longer collect such information, Montana will be required to solicit

it from every new applicant organization individually, and annually from the

thousands of extant organizations that have already received tax-exempt status from

Montana but that will not report their significant contributors to the IRS in future

years.

         43.   For state governments like Montana’s, there is a significant burden

involved in reorienting tax processes. At present, Montana does not have any full-

time staff or general fund monies devoted to tax-exempt organizations practice.

         44.   On information and belief, other states--including those that require the

federal Schedule B to be filed, as well as those that do not require it but rely on the

overall strength of federal disclosures in making their determinations--will face the


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same or greater burdens if significant contributors are no longer disclosed to the IRS

under 26 C.F.R. § 1.6033-2.

       45.   Third, by eliminating the requirement that names and addresses of

significant contributors be disclosed to the IRS for groups other than § 501(c)(3)

charities, Revenue Procedure 2018-38 causes Montana to suffer informational

injury.   See Federal Election Commission v. Akins, 524 U.S. 11, 21 (1998)

(recognizing “informational injury” as “injury in fact”). The names and addresses

of significant contributors for organizations other than § 501(c)(3) charities are

available to the State of Montana by statute. 26 U.S.C. § 6103(d). The information

will not be available by this statutory mechanism if it is no longer disclosed to the

IRS.

       46.   Fourth, the State of Montana, by and through its Department of

Revenue and its chief executive Governor Bullock, has a quasi-sovereign interest in

the administration of its own tax laws and policies. Taxation is a sovereign power

of the states. If the names and addresses of significant contributors are not reported

to the IRS for groups other than § 501(c)(3) charities, it will invade upon Montana’s

quasi-sovereign interest in the administration of its tax policies.

       47.   Plaintiffs Governor Bullock, in his official capacity as Governor of the

State of Montana, and MTDOR, an executive agency of the State of Montana, are

not “normal litigants for the purposes of invoking federal jurisdiction.”


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Massachusetts v. EPA, 549 U.S. 497, 518 (2007). Here, “[t]he parties’ dispute turns

on the proper construction of a congressional statute, the APA, which authorizes

challenges to final agency action for which there is no other adequate remedy in a

court.” Texas v. United States, 809 F.3d 134, 152 (5th Cir. 2015) (quoting Mass. v.

EPA, 549 U.S. at 518; 5 U.S.C. § 704), aff’d by an equally divided Court, 136 S. Ct.

2271 (2016).

        48.    If the names and addresses of significant contributors to § 501(c)

organizations other than § 501(c)(3) charities are not disclosed to the IRS, it will

“impos[e] substantial pressure” on the State of Montana to change its laws. See id.

at 153. “[S]tates have a sovereign interest in the ‘power to create and enforce a legal

code.’” Id. (citation omitted). Montana “would incur significant costs” in changing

its laws to create a new procedure for the collection of significant contributor names

and addresses for use in its private inurement determinations. See id. at 155.

IV.     REVENUE PROCEDURE 2018-384

        49.    On July 16, 2018, Defendants announced that organizations other than

§§ 501(c)(3) and 527 political groups will no longer be required to disclose the

names and addresses of their substantial contributors under 26 C.F.R. § 1.6033-2.

        50.    Defendants purported to effect this change by way of a sub-regulatory,

internal guidance document called a Revenue Procedure.


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    Available at https://www.irs.gov/pub/irs-drop/rp-18-38.pdf.

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      51.    Typically, an IRS “Revenue Procedure . . . is an internal procedural rule

that does not create or determine any rights, obligations, or legal consequences.” See

Facebook, Inc. v. Internal Revenue Serv., No. 17-CV-06490-LB, 2018 WL 2215743,

at *17 (N.D. Cal. May 14, 2018) (citations omitted).

      52.    Revenue Procedure 2018-38 states that

             tax-exempt organizations required to file the Form 990 or
             Form 990-EZ, other than those described in § 501(c)(3),
             will no longer be required to provide names and addresses
             of contributors on their Forms 990 or Forms 990-EZ and
             thus will not be required to complete these portions of their
             Schedules B (or complete the similar portions of Part IV
             of the Form 990-BL). Similarly, organizations described
             in § 501(c)(7), (8), or (10) will no longer be required to
             provide on Forms 990 or Forms 990-EZ the names and
             addresses of persons who contributed more than $1,000
             during the taxable year to be used for exclusively
             charitable purposes.

Revenue Procedure 2018-38, at *6.

      53.    In other words, Revenue Procedure 2018-38 purports to relieve

organizations of the obligation to report contributors’ names and addresses

previously required by 26 C.F.R. § 1.6033-2.

      54.    Revenue Procedure 2018-38 is a reviewable “final agency action”

within the meaning of the APA, 5 U.S.C. § 704, because it represents the culmination

of the agency’s decision-making and “determines rights or obligations or triggers

legal consequences.” T-Mobile S., LLC v. City of Roswell, 135 S. Ct. 808, 817 n.4

(2015) (quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)). There is nothing


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tentative about Revenue Procedure 2018-38, and it determines organizations’ rights

and obligations by relieving organizations other than § 501(c)(3) charities of the

obligation under 26 C.F.R. § 1.6033-2 to furnish the names and addresses of their

substantial contributors.

      55.    In promulgating Revenue Procedure 2018-38, Defendants provided no

notice or opportunity for comment.

      56.    Additionally, Defendants did not supply a reasoned analysis of their

decision to amend a legislative rule when promulgating Revenue Procedure 2018-

38.

      57.    Because Defendants’ actions did not conform with the requirements of

the APA for amending a legislative rule, Defendants have acted in excess of their

statutory authority or limitations.

      58.    Had Plaintiffs been given notice and afforded an opportunity to

comment, they would have notified Defendants of the significant, adverse effects of

the putative change in disclosure rules.      Reduced transparency for § 501(c)

organizations at the federal level has significant downstream effects. In the context

of elections and election spending, reduced transparency at the IRS upends settled

expectations that federal tax-exempt organizations are what they purport to be:

domestically-funded social welfare groups validly participating in elections, for

example.    Absent the disclosure of the names and addresses of significant


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contributors to the IRS, the task of eradicating foreign influence in elections

becomes harder if state and federal campaign finance officials cannot rely on the

IRS. The same goes for tax officials seeking to determine whether organizations are

evading requirements about what proportion of their funds can be dedicated to

political activity.   And for state treasuries, reduced disclosure of significant

contributor information makes it far harder for tax officials to target abuse of the tax-

exempt designation.

                       COUNT ONE:
FAILURE TO OBSERVE PROCEDURE FOR RULEMAKING REQUIRED
             BY LAW IN VIOLATION OF THE APA

      59.    Plaintiffs repeat and reallege each of the foregoing allegations.

      60.    The APA requires courts to “hold unlawful and set aside agency action”

that has been promulgated “without observance of procedure required by law.”

5 U.S.C. § 706(2)(D).

      61.    Revenue Procedure 2018-38 is a substantive or legislative rule because

it purports to amend the disclosure requirements contained in 26 C.F.R. § 1.6033-2

and to change the obligations and legal consequences for certain tax-exempt

organizations around disclosure; it “effect[s] a change in existing law” because it

“effectively amends a prior legislative rule.” Wilson v. Lynch, 835 F.3d 1083, 1099

(9th Cir. 2016) (citation omitted).

      62.    Before a substantive rule like Revenue Procedure 2018-38 may take


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effect, the APA requires the agency to issue a notice of proposed rulemaking that

includes “either the terms or substance of the proposed rule or a description of the

subjects and issues involved” in order to “give interested persons an opportunity to

participate in the rule making through submission of written data, views, or

arguments.” 5 U.S.C. § 553(b)(3), (c).

        63.   Defendants did not comply with this notice-and-comment requirement

in promulgating Revenue Procedure 2018-38. Rather, Defendants merely purported

to announce it as applicable for returns that will become due on or after May 15,

2019.

        64.   The fact that Defendants labeled the substantive change a “Revenue

Procedure” does not excuse their violation of the APA. Moreover, a provision that

allows the Commissioner to relax some filing requirements does not allow

Defendants to evade notice-and-comment: that provision does not permit

Defendants to wholesale repeal substantive disclosure requirements that affect

obligations and have legal consequences outside of the procedures of the APA for

legislative rules.

        65.   Plaintiffs MTDOR and Bullock have no adequate or available

administrative remedy; in the alternative, any effort to obtain an administrative

remedy would be futile.




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      66.    Plaintiffs MTDOR and Bullock have “no other adequate remedy in a

court.” 5 U.S.C. § 704.

      67.    Defendants’ action in promulgating Revenue Procedure 2018-38 has

harmed and will continue to harm Plaintiffs MTDOR and Bullock by impairing

Montana’s ability to make tax-exemption determinations.

                     COUNT TWO:
   UNAUTHORIZED AGENCY ACTION IN VIOLATION OF THE APA

      68.    Plaintiffs repeat and reallege each of the foregoing allegations.

      69.    The APA forbids agency action “in excess of statutory jurisdiction,

authority, or limitations.” 5 U.S.C. § 706(2)(C).

      70.    The disclosure requirements for tax-exempt organizations other than

those described in § 501(c)(3) are pursuant to a binding legislative rule, 26 C.F.R.

§ 1.6033-2, that was promulgated according to the relevant requirements under the

APA, including notice-and-comment. See 5 U.S.C. § 553.

      71.    The Commissioner’s ability to relieve certain unnecessary filing

requirements under § 1.6033-2(g)(6) does not supersede the statutory requirement

that amendments to legislative rules must be promulgated through the APA’s notice-

and-comment process.

      72.    By purporting to amend a legislative rule without conforming to the

requirements of the APA, Defendants have acted in excess of their statutory

authority or limitations.

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      73.    The fact that Defendants labeled the substantive change a “Revenue

Procedure” does not excuse their violation of the APA. Revenue Procedure 2018-

38 is a substantive or legislative rule because it purports to amend the disclosure

requirements contained in 26 C.F.R. § 1.6033-2 and to change the obligations and

legal consequences for certain tax-exempt organizations around disclosure; it

“effect[s] a change in existing law” because it “effectively amends a prior legislative

rule.” Wilson v. Lynch, 835 F.3d at 1099 (citation omitted).

      74.    Plaintiffs MTDOR and Governor Bullock have no adequate or

available administrative remedy; in the alternative, any effort to obtain an

administrative remedy would be futile.

      75.    Plaintiffs MTDOR and Bullock have “no other adequate remedy in a

court.” 5 U.S.C. § 704.

      76.    Defendants’ actions in promulgating Revenue Procedure 2018-38 have

harmed and will continue to harm Plaintiffs MTDOR and Governor Bullock.

                     COUNT THREE:
  ARBITRARY AND CAPRICIOUS RULEMAKING IN VIOLATION OF
                        THE APA

      77.    Plaintiffs repeat and reallege each of the foregoing allegations.

      78.    The APA forbids agency action that is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).




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      79.    To comply with the APA, an agency must supply a “reasoned analysis”

of its decision to amend a legislative rule. Motor Vehicle Mfrs. Ass’n v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 57 (1983).

      80.    In promulgating Revenue Procedure 2018-38, Defendants did not

supply a reasoned analysis of the decision to relieve tax-exempt organizations other

than § 501(c)(3) charitable organizations from the requirement that they furnish the

names and addresses of their substantial contributors.

      81.    The fact that Defendants labeled their substantive change a “Revenue

Procedure” does not excuse their violation of the APA. Moreover, a provision that

allows the Commissioner to relax some filing requirements does not allow

Defendants to amend a legislative rule without supplying a reasoned analysis. That

provision does not permit Defendants to wholesale repeal substantive disclosure

requirements that affect obligations and legal consequences outside of the

procedures of the APA for legislative rules.

      82.    Plaintiffs MTDOR and Governor Bullock have no adequate or

available administrative remedy; in the alternative, any effort to obtain an

administrative remedy would be futile.

      83.    Plaintiffs MTDOR and Bullock have “no other adequate remedy in a

court.” 5 U.S.C. § 704.




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      84.    Defendants’ actions in promulgating Revenue Procedure 2018-38 have

harmed and will continue to harm Plaintiffs MTDOR and Governor Bullock.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court:

      a.     Issue an order and judgment setting aside Revenue Procedure 2018-38

under 5 U.S.C. § 706(2);

      b.     Award Plaintiffs their costs, attorneys’ fees, and other disbursements

for this action; and

      c.     Grant any other relief this Court deems appropriate.

Dated:       July 24, 2018                         Respectfully submitted,

                                                   /s/ Raphael Graybill
                                                   Raphael Graybill
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                                                   Attorney for Plaintiffs




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                      CERTIFICATE OF COMPLIANCE

      In accordance with Local Rules 7.1 and 24.1 of the Rules of Procedure of
the United States District Court for the District of Montana, I certify the following
concerning the Complaint:

      1. the document is double spaced except for footnotes and quoted and
         indented material;

      2. the document is proportionally spaced, using Times New Roman,
         14 point font; and

      3. The document contains 4,658 words as calculated by Microsoft Word.

      Dated:       July 24, 2018

                                              /s/ Raphael Graybill
                                              Raphael Graybill




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